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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 Santiago Abreu, an individual,

          Plaintiff,                          Case No.: 16-516
                                              Hon.
    vs.

 Centre Front Enterprises, LTD, a
 Michigan corporation doing business                    COMPLAINT
 as Waldo's Campus Tavern,

          Defendant.

                                  COMPLAINT

    Plaintiff, Santiago Abreu (“Plaintiff”), hereby brings an action for injunctive

relief, compensatory damages, attorneys’ fees and costs pursuant to the Americans

with Disabilities Act, 42 U.S.C. §12181, et. seq. (“ADA”), and the Michigan

Persons with Disabilities Civil Rights Act (“PDCRA”), MCL §37.1301 et. seq.,

against Centre Front Enterprises, LTD (“Defendant”), together with its assignees

and successors-in-interest and in support thereof alleges as follows:

                         JURISDICTION AND VENUE

   1.     This action arises from a violation of Title III of the ADA, 42 U.S.C.

§12181, eq. seq., and the PDCRA, MCL §37.1301 et. seq. This Court has original

jurisdiction pursuant to 28 USC §1331 and 28 USC §1343 and supplemental

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jurisdiction under 28 USC §1367.

   2.    Defendant, Centre Front Enterprises, LTD, is a Michigan corporation

doing business as “Waldo's Campus Tavern” and is an owner, operator, lessor,

lessee, or some combination thereof of a restaurant/bar, located within Kalamazoo

County, Michigan.

   3.    Defendant, Centre Front Enterprises, LTD, operates a retail establishment

that constitutes a place of public accommodation subject to the ADA and PDCRA.

   4.    Defendant owns, operates, leases or leases to others “Waldo's Campus

Tavern,” a restaurant/bar located at the following address: 1408 W Michigan Ave,

Kalamazoo, MI 49006 (hereinafter referred to as the “Premises”).

   5.    Defendant has received notice long ago of its obligation to comply with

the ADA by virtue of the enactment of the ADA and associated publicity.

   6.    Defendant’s Premises are a place of public accommodation as defined

under the ADA and the PDCRA.

   7.    Venue is proper as the Premises that is the subject matter of the claims

herein is located in a city and municipality located within Kalamazoo County,

Michigan, and Defendant is doing business at a retail location within Kalamazoo

County, Michigan.




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                            PLAINTIFF AND STANDING

    8.    Plaintiff, is a resident of Palm Beach County, Florida, and is disabled at

all times material to this Complaint.

    9.    Plaintiff is an individual with numerous disabilities, including moderately

severe multiple sclerosis and is also paraparetic. These conditions cause sudden

onsets of severe pain and requires Plaintiff to use a wheelchair and substantially

limits Plaintiff’s major life activities. At the time of Plaintiff’s initial visit to the

Premises (and prior to instituting this action), Plaintiff suffered from a “qualified

disability” under the ADA and required accessible means of entry at the Premises.

Plaintiff personally visited the Premises, but was denied full and equal access and

full and equal enjoyment of the facilities, services, goods and amenities within the

Premises, even though he would be classified as a “bona fide patron.”

    10. Plaintiff is a customer of Defendant and has visited the Premises in April

2016 to enjoy the goods and services offered at the Premises as Defendant offers

said goods and services without restriction to members of the public that do not

suffer from a physical disability.

    11. Plaintiff will avail himself of the services offered at the Premises in the

future, provided that Defendant modifies the Premises or modifies the policies and

practices to accommodate individuals who have physical disabilities.


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    12. Plaintiff would return to the Premises identified herein to enjoy the

goods, services, privileges, advantages and/or accommodations being offered to

members of the public without physical disabilities, but he is deterred from

returning due to the discriminatory conditions at the Premises.

    13. Completely independent of his personal desire to have access to these

Premises, which is a place of public accommodation, free of illegal barriers to

access, Plaintiff also acts as a “tester” for the purpose of discovering, encountering

and engaging discrimination against persons with disabilities in places of public

accommodations. When acting as a “tester”, Plaintiff employs a routine practice.

Plaintiff personally visits the public accommodation; engages all of the barriers to

access, or at least of those that Plaintiff is able to access; tests all of those barriers

of access to determine whether and the extent to which they are illegal barriers to

access; proceeds with legal action to enjoin such discrimination; and subsequently

returns to the Premises to verify its compliance or non-compliance with the ADA

and to otherwise use the public accommodation as members of the able-bodied

community are able to do. Independent of other subsequent visits, Plaintiff also

intends to visit the Premises regularly to verify compliance or non-compliance with

the ADA and the PDCRA and maintenance of the accessible features of the

Premises. In these instances referenced in this Complaint, Plaintiff, in Plaintiff’s


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individual capacity and as a “tester”, visited the Premises, encountered barriers to

access at the Premises, engaged and tested those barriers, suffered legal harm and

legal injury and will continue to suffer such harm and injury as a result of the

illegal barriers to access and the ADA violation set forth herein. It is Plaintiff’s

belief that said violations will not be corrected without Court intervention and thus

Plaintiff will suffer legal harm and injury in the near future.

    14. Plaintiff has suffered an injury under the ADA and PDCRA because of

his awareness of discriminatory conditions at the Premises and his being deterred

from visiting or patronizing said public accommodations.

    15. Plaintiff’s injury is concrete and particularized because he is being

deterred from visiting or patronizing the Premises.

    16. Plaintiff’s injury is caused as a direct result of Defendant’s failure to

remove discriminatory architectural features at the Premises.

    17. Plaintiff’s injury will be redressed by the Court’s ordering Defendant to

comply with the ADA and PDCRA.

    18. Plaintiff feels fortunate that lawmakers have designated a legal remedy

for persons who have disabilities and their families, through the ADA and PDCRA,

to eliminate discriminatory behavior.

    19. In the matter at hand, Plaintiff seeks the removal of all mobility and


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accessibility related architectural barriers at the Premises, which is clearly a place

of public accommodation. These barriers, as well as others, deter Plaintiff, and

others who suffer from physical disabilities, from visiting the Premises because

they are hurtful and demeaning symbols of discrimination against people with

physical disabilities and they force Plaintiff to use an increased level of exertion to

gain access.

    20. Plaintiff has visited Defendant’s Premises at the address listed herein, to

enjoy the goods and services at the restaurant/bar as Defendant offers them to non-

disabled members of the public on April 1, 2016.

    21. Plaintiff will suffer continued discrimination if the barriers to access

existing at Defendant’s Premises as listed above are not immediately removed.

    22. As a direct result of Defendant’s conduct, Plaintiff has suffered, and will

certainly continue to suffer, discrimination in the full and equal enjoyment of the

goods, services, facilities, privileges, advantages and/or accommodations at

Defendant’s Premises based upon the fact that Plaintiff is a person with physical

disabilities.

    23. Plaintiff has retained undersigned counsel for the filing and prosecution

of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs and

expenses paid by Defendant pursuant to 42 U.S.C. §12205.


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   VIOLATION OF THE AMERICANS WITH DISABILITIES ACT AND
    MICHIGAN PERSONS WITH DISABILITIES CIVIL RIGHTS ACT

   24. Plaintiff adopts and re-alleges the allegations stated in paragraphs 1

through 22 above as if fully stated herein.

   25. On July 26, 1990, Congress enacted the ADA, 42 USC §12101, et seq.

Commercial enterprises were provided one and a half (1.5) years from enactment

of the statute to implement its requirements. The effective date of Title III of the

ADA was January 26, 1992 or January 26, 1993 if Defendant(s) have ten (10) or

fewer employees and gross receipts of $500,000.00 or less. See 42 USC §12182;

see also 28 CFR §36.508(a).

   26. Congress found, among other things, that:

         a. Some forty-three million (43,000,000) Americans have one or more

             physical or mental disabilities, and this number shall increase as the

             population continues to grow older;

         b. Historically, society has tended to isolate and segregate individuals

             with disabilities and, despite some improvements, such forms of

             discrimination against disabled individuals continue to be a pervasive

             social problem, requiring serious attention;

         c. Discrimination against individuals with disabilities persist in such



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         critical areas as employment, housing, public accommodations,

         transportation, communication, recreation, institutionalization, health

         services, voting and access to public services and public features;

      d. Individuals     with   disabilities      continually    suffer   forms      of

         discrimination,    including        outright   intentional   exclusion,    the

         discriminatory     effects     of     architectural,   transportation,    and

         communication barriers, failure to make modifications to existing

         facilities and practices. Exclusionary qualification standards and

         criteria, segregation, and regulation to lesser services, programs,

         benefits, or other opportunities; and

      e. The continuing existence of unfair and unnecessary discriminatory

         and prejudice denies all persons with the opportunity to compete on

         an equal basis and to pursue those opportunities for which our country

         is justifiably famous, and across the United States billions of dollars in

         unnecessary      expenses    resulting     from    dependency     and     non-

         productivity.

    42 SC §12101(a)(1)-(3), (5), and (9).

 27. Congress explicitly stated that the purpose of the ADA was to:

      a. Provide a clear and comprehensive national mandate for elimination


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            of discrimination against individuals with disabilities;

         b. Provide clear, strong, consistent, enforceable standards addressing

            discrimination against individuals with disabilities; and

         c. Invoke the sweep of congressional authority, including the power to

            enforce the fourteenth amendment and to regulate commerce, in order

            to address the major areas of discrimination faced on a daily basis by

            people with disabilities.

       42 USC §12101(b)(1) and (4).

   28. Pursuant to 42 USC §12182(7), 28 CFR §36.104, and the 2010 ADA

Standards, Defendant’s Premises is a place of public accommodation covered by

the ADA by the fact that it provides services to the general public, and as such,

must be must be in compliance with the ADA.

   29. Defendant has discriminated and continues to discriminate against

Plaintiff and others who are similarly situated, by denying access to, and full and

equal enjoyment of goods, services, facilities, privileges, advantages and/or

accommodations located at the Premises, as prohibited by 42 USC §12182, and 42

USC §12101, et. seq., and by failing to remove architectural barriers pursuant to 42

USC §12182(b)(2)(A)(iv).

   30. Plaintiff has visited the Premises and has been denied full and safe equal


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access to the facilities, and therefore suffered an injury in fact.

    31. Plaintiff intends to return and enjoy the goods and/or services at the

Premises on a spontaneous, full and equal basis. However, Plaintiff is precluded

from doing so by Defendant’s failure and refusal to provide persons with

disabilities with full and equal access to its facilities at the Premises. Therefore,

Plaintiff continues to suffer from discrimination and injury due to the architectural

barriers that are in violation of the ADA and PDCRA.

    32. Pursuant to the mandates of 42 USC §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA. See 28 CFR §36 and its

successor the 2010 ADA Standards ADA Accessibility Guidelines (“ADAAG”), 28

CFR Part 36, under which said Department may obtain civil penalties of up to

$55,000.00 for the first violation and $110,000.00 for each subsequent violation).

    33. Under the PDCRA, a person shall not “deny an individual the full and

equal enjoyment of the goods, services, facilities, privileges, advantages, and

accommodations of a place of public accommodation or public service because of

a disability that is unrelated to the individual's ability to utilize and benefit from the

goods, services, facilities, privileges, advantages, or accommodations or because of

the use by an individual of adaptive devices or aids. . . .” MCL §37.1302(a).


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    34. “Person” includes an individual, agent, association, corporation, joint

apprenticeship committee, joint-stock company, labor union, legal representative,

mutual company, partnership, receiver, trust, trustee in bankruptcy, unincorporated

organization, this state, or any other legal, commercial, or governmental entity or

agency. MCL §37.1103(g).

    35. “Place of public accommodation” means a business, educational

institution, refreshment, entertainment, recreation, health, or transportation facility

of any kind, whether licensed or not, whose goods, services, facilities, privileges,

advantages, or accommodations are extended, offered, sold, or otherwise made

available to the public. MCL §37.1301(a).

    36. “Waldo's Campus Tavern” is a place of public accommodation. MCL

§37.1301(a).

    37. Plaintiff is an individual with a disability.

    38. Defendant has discriminated, and continues to discriminate, against

Plaintiff on the basis of his disability, as set forth in this Complaint. In the absence

of the injunction sought herein, the Plaintiff likely to encounter Defendant’s same

discriminatory policies and practices.

    39. Defendant is in violation of 42 U.S.C. §12182, et. seq., and the 2010

American Disabilities Act Standards, et. seq., and is discriminating against Plaintiff


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as a result of, inter alia, the following specific violations found in the Pathway to

the Entrance on the Premises:

         a. Providing pathways and surfaces that are uneven in violation of 2010

             ADAAG §§206, 206.1, 206.2, 206.2.2, 303 and 403.3.

         b. Providing pathways and surfaces that are too steep that include

             changes in levels greater than 0.5 inches in violation of 2010 ADAAG

             §§206, 206.1, 206.2, 206.2.2, 303, 403.3 and/or §4.8.5 of the 1991

             ADA Standards 4.3.8.

   40. Defendant is in violation of 42 U.S.C. §12182, et. seq., and the 2010

American Disabilities Act Standards, et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in the Bar Seating

Area located on the Premises:

         a. Providing counter heights exceeding 36 inches making it impossible

             to service a person with a disability in violation of 2010 ADAAG

             §§904, 904.4, 904.4.1 and 904.4.2.

         b. Failing to provide accessible seating for person(s) with a disability at

             a bar or adjacent table in the bar area, recreational area or a table area

             adjacent to a pool for food or beverage service, or at a computer work

             surface such as in a business center, in violation of 2010 ADAAG


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              §§902, 902.1, 902.3 and/or §4.32.4 of the 1991 ADA Standards.

      41. Defendant is in violation of 42 U.S.C. §12182, et. seq., and the 2010

American Disabilities Act Standards, et. seq., and is discriminating against Plaintiff

as a result of, inter alia, the following specific violations found in the Men's

Restroom located on the Premises1:

           a. Providing pathways and surfaces that are too steep that include

              changes in levels greater than 0.5 inches in violation of 2010 ADAAG

              §§206, 206.1, 206.2, 206.2.2, 303, 403.3 and/or §4.8.5 of the 1991

              ADA Standards 4.3.8.

           b. Failing to provide sufficient clear floor space around a water closet

              without any obstructing elements in this space in violation of 2010

              ADAAG §§4.22, 603, 603.2.3, 604, 604.3 and 604.3.1.

           c. Failing to provide a urinal designed for a person with a disability

              where the rim height is no more than 17 inches from the finished floor

              in violation of 2010 ADAAG §§605 and 605.2.

           d. Failing to provide the proper spacing between a grab bar and an object

              projecting out of the wall in violation of 2010 ADAAG §§604, 604.5,

              604.5.1, 604.5.2, 609 and 609.4.
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 It is believed these same violations are present in the Women’s Restroom.
However, due to Mr. Abreu’s gender, same cannot be confirmed by Plaintiff.

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       e. Providing grab bars of improper horizontal length or spacing on the

          back or side wall in violation of 2010 ADAAG §§604, 604.5, 604.5.1,

          604.5.2, 609 and 609.4.

       f. Failing to provide the water closet in the proper position relative to the

          side wall or partition in violation of 2010 ADAAG §§604 and 604.2.

       g. Failing to provide toilet paper dispensers in the proper position in

          front of the water closet or at the correct height above the finished

          floor in violation of 2010 ADAAG §§604, 604.7 and 309.4.

       h. Failing to provide mirror(s) located above lavatories or countertops at

          the proper height above the finished floor in violation of 2010

          ADAAG §§603 and 603.3.

       i. Failing to provide paper towel dispenser at the correct height above

          the finished floor in violation of 2010 ADAAG §§606, 606.1 and 308.

       j. Failing to provide proper signage for an accessible restroom or failure

          to redirect a person with a disability to the closest available accessible

          restroom facility in violation of 2010 ADAAG §§216, 216.2, 216.6,

          216.8, 603, 703, 703.1, 703.2, 703.5 and 703.7.2.1.

       k. Failing to provide proper knee clearance for a person with a disability

          under a counter or sink element in violation of 2010 ADAAG §§306,


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             306.1 and 306.3.

          l. Failing to provide proper toe clearance for a person with a disability

             under a counter or sink element in violation of 2010 ADAAG §§306,

             306.1, 306.2 and 306.2.1.

          m. Providing services that exceed heights for Unobstructed Side Reach of

             48 inches making it impossible to use service machines for person(s)

             with a disability in violation of 2010 ADAAG §§228, 308, 308.2,

             308.3, 308.3, 308.3.1, and 309.

42. To the best of Plaintiff’s belief and knowledge, Defendant has failed to

eliminate the specific violations set forth above.

43. Although Defendant is charged with having knowledge of the violations,

Defendant may not have had actual knowledge of said violations until this

Complaint made Defendant aware of same.

44. To date, the readily achievable barriers and violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance

with the provisions with the ADA.

45. To date, the barriers and violations of the ADAAG are not structurally

impracticable and have not been remedied or altered in such a way to have

compliance with the ADAAG.


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46. Pursuant to the ADA, 42 U.S.C. §12101, et. seq., and 28 C.F.R. §36.304,

Defendant was required to make the establishment (Premises), which is a place of

public accommodation, accessible to persons with disabilities, by no later than

January 28, 1992. As of the date of the filing of this Complaint, Defendant has

failed to comply with this mandate.

47. The above violations are readily achievable and not structurally impractical to

modify in order to bring the Premises into compliance with the ADA and the

ADAAG.

48. In instances where the 2010 ADA and/or 2010 ADAAG standard does not

apply, the 1991 ADA Standards apply to the violations listed herein.

49. Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiff’s request for injunctive relief, including entering an Order to alter the

Premises to make them readily accessible to and useable by individuals with

disabilities to the extent required by the ADA and closing the Premises until the

requisite modifications are completed.

50. Defendant is in the best position and has an affirmative obligation to identify

the architectural barriers in, at or on Defendant’s Premises.

51. The identification of barriers listed herein is far from comprehensive.

52. Since most barriers involve a matter of mere inches or degrees, by their very


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nature, they are undetectable to the unaided eye. To identify a less-than-obvious

architectural barrier requires a person to have unfettered access to a property with

tools such as a tape measure, slope reader, and note pad. Due to the nature of these

barriers and lack of access to the barriers, Plaintiff requires an on-site inspection to

provide a comprehensive list of barriers that should be removed.

     WHEREFORE, Plaintiff respectfully requests an Order against Defendant

and its assignees and successors-in-interest to include the following:

    A.    This Court declare that the Premises owned, operated and/or controlled

by Defendant that is identified in this Complaint are in violation of the ADA and

PDCRA;

    B.    This Court declare that the Premises owned, operated and/or controlled

by Defendant that are identified in this Complaint are in violation of the ADAAG;

    C.    This Court enter an Order requiring Defendant to alter its Premises that

are the subject of this Complaint to make them accessible to and usable by

individuals with disabilities to the full extent required by Title III of the ADA and

PDCRA;

    D.    This Court enter an Order directing Defendant to evaluate and neutralize

its policies, practices, and procedures towards persons with disabilities, for such

reasonable time so as to allow Defendant to undertake and complete corrective


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procedures to the Premises identified in this Complaint;

   E.     A temporary injunction and a permanent injunction prohibiting conduct

of business at the Premises until such time as the existing barriers to Plaintiff’s

access to the Premises identified in the Complaint are removed.

   F.     An order directing the removal of existing barriers to access to make the

Premises accessible to and usable by individuals with disabilities as required by the

ADA and PDCRA;

   G.     An award of attorneys' fees, all costs (including, but not limited to Court

costs and expert fees) and other expenses of this litigation pursuant to 42 U.S.C.

§12205;

   H.     Monetary damages pursuant to PDCRA; and

   I.     Any other such relief as the Court deems just and proper.




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                                         Respectfully Submitted,

                                         CHASTAIN & AFSHARI, LLP


Dated: May 13, 2016                      /s/ George T. Blackmore
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